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                           UNITED STATES DISTRICTCOURT
                              DISTRICT OF MINNESOTA


Jocelyn Mammen,
                                                Case No.
                          Plaintiff,

V.                                                           COMPLAINT

Hartford Life & Accident Insurance
Company; Target Corporation - LTD
Reserve Buy-Out, Plan/Plan Administrator,

                          Defendants.




         Plaintiff, Jocelyn Mammen, for her Complaint, states and alleges as follows:

                                JURISDICTION AND VENUE

         1        This action arises under the Employee Retirement Income Security Act of

1974 ("ERISA"), 29 U. S. C. § 1001 et seq., and principles of federal common law

developed thereunder.

         2.       This Court has jurisdiction of this action pursuant to 29 U. S.C.

§ 1132(e)(l), ERISA § 502(e)(l), and federal questions jurisdiction under 28 U. S. C.

§1331.
         3.        Venue is proper in this District under 29 U. S. C. § 1132(e)(2), ERISA

§ 502(e)(2), because the case involves an employee benefit plan administered in this

District and the Defendants may be found in this District.




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                                        THE PARTIES

        4.        Plaintiff Jocelyn Mammen ("Mammen" or "Plaintiff) resides in

Minneapolis, Minnesota.

         5.       Mammen was formerly employed by Target Corporation.

         6.       As a consequence of her employment, Mammen participated in Target's

long-term disability plan.

         7.       Target's long-term disability plan was self-insured during Mammen's

employment. Based on information and belief, in 2009, Hartford Life & Accident
Insurance Company took over funding of Target's self-funded long-term disability

program through a reserve buy-out program. Hartford Life & Accident Insurance
Company took over liability, effective January 1, 2010, under the Policy Number GLT-
395265.

         8.       Mammen's benefit is now payable under the Target Corporation-LTD

Reserve Buy-Out Plan. The Plan Number is GLT-597. The plan administrator and

policyholder are also identified asTarget Corporation-LTD Reserve Buy-Out.
         9.        Hartford Life & Accident Insurance Company ("Hartford") was at all

relevant times during the claims denial process the insurer of, the claims administrator

for, and a fiduciary of the LTD plan.

                                 FACTUAL ALLEGATIONS

         10.       Plaintiff Jocelyn Mammen worked as an Inventory/Management Specialist

at Target Corporation at the time of her disability on April 30, 2003. As an employee of
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Target Corporation, she became eligible for and was covered as a participant in Target

Corporation's group long-term disability plan.

        11.      Mammen initially became disabled due to her pregnancy in 2003 with a

diagnosis of pubic symphysis diastasis (separation of the pubic bone), sciatica and
chronic pain. Her last date of work was April 30, 2003 She was later diagnosed with

fibromyalgia and other conditions.

        12.      Mammen was approved for long-term disability benefits. Disability under

the long-term disability plan is defined as:

        Disability or Disabled means during the first 12 months of benefit
        payments, Your Disability must prevent You from performing Any
        Occupation and, following the 12 months period. Disability must meet two
        tests:


        1) the Disability must prevent You from engaging in any work or
              occupation for which You are, or may become, reasonably fitted by
              education, training or experience; and

        2) the Disability must meet Social Security disability requirements and
           Your approval or retroactive approval for Social Security Disability
              Income must occur within the 24 months period following the date
              Disability began.

        13       Mammen filed a claim for Social Security on May 26, 2004 and was

approved for Social Security Disability on August 20, 2004. Mammen continues to
receive Social Security Disability benefits.




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          14.   Mammen was determined to be disabled and meet the terms of the plan

until Hartford terminated her benefits effective March 14, 2015.

          15.   In 2006 treating physician Joseph Ofstedal, M. D., completed a disability

form giving the diagnoses of fibromyalgia, palmer-plantar hyperkeratosis, and elevated

CSF opening pressiu-e, with symptoms offatigue, headache and chronic pain.

          16.   A Physician Statement of Continued Disability was completed by

Dr. Ofstedal in 2010, providing a primary diagnosis of fibromyalgia and palmer-plantar

hyperkeratosis, listing symptoms of pain, fatigue, and cognitive dysfunction. Physical

exam findings included hand and feet pain, inflammation, thick skin, and tender trigger

points.

          17.   In 2010, Mammen had a consult at the Sleep Medicine Clinic at the

University of Minnesota Medical Center, Fairyiew. She was diagnosed with chronic

insomnia, multifactorial, probable restless leg syndrome, and night eating syndrome

among other diagnoses.

          18.   A Physician Statement of Continued Disability was completed by

Dr. Ofstedal on April 26, 2013, providing a primary diagnoses of fibromyalgia and

palmer-plantar hyperkeratosis and secondary diagnosis of chronic pain, listing symptoms

of pain, fatigue and cognitive dysfunction. Physical exam findings included fatigue,

diffuse tenderness and thick callous feet.

          19.   Dr. Ofstedal's notes on April 21, 2014 state that Mammen has a lot of pain

and that her pain overall is worse. He states her sleep is very disruptive. He indicates that

her medications cause side effects.

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        20.      In Febmary 2014, Hartford conducted an interview of Mammen. She

informed Hartford that nothing has changed regarding her medical condition. She stated

that she is very limited in her walking/standing ability due to her foot disease, that she

has fatigue firom her fibromyalgia and spends most ofher time in bed.

        21.      Mammen's claim was proactively reviewed by Hartford's surveillance

investigative unit, but the unit was unable to identify any evidence warranting continued

investigation.

        22.       Hartford then decided to order an independent medical examination of

Mammen, determining that Mammen's "extent offunctionality" was "still unclear."

        23.       At the request of Hartford, Mammen attended an independent medical

evaluation conducted by Elena Polukhin, M. D., on December 16, 2014.

        24.       Dr. Polukhin issued a report dated December 18, 2014. She opined that

Mammen was capable of working full-time sedentary work, able to sit eight hours at a

time for a total of eight hours a day, with a break 5-10 minutes every hour to stand and

stretch; stand for one hour at a time for a total of four hours per eight-hour day; walk for

one hour at a time for a total of eight hours per eight-hour day; lift and carry 15 pounds

constantly; pull/push up to 10 pounds constantly; reach at waist level, above shoulder
level constantly, below waist level only occasionally.

         25.      Dr. Polukhin opined that Mammen had been adequately treated and

rehabilitated from all of her conditions and that she was capable of being engaged in

substantial gainful activity. Shestatedthat shehadbeentaking care ofmanypatients with
chronic pain syndrome and fibromyalgia and that she truly believes that "intelligent,
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educated, good looking female like Ms. Mammen should be working serving people in

need and contributing to the American society."

        26.      Using the functional capabilities based on the IME from Dr. Polukhin, an

Employability Analysis was conducted, and it was determined that Mammen could

perform various occupations.

        27.       Based on Dr. Polukhin's report and the Employability Analysis, Hartford

terminated Mammen's benefit effective March 14, 2015.

        28.      The notice of the termination of benefits was set forth in a letter dated

March 18, 2015. The notice failed to meet the requirements under the LTD Plan and

ERISA regulations by failing to provide a description of additional material information

necessary for the claimant to perfect the claim and an explanation of why such material

infonnation is necessary. 29 C. F. R. § 2560. 503-l(g)(iii).

        29.      Mammen was told by Hartford's claim representative that all that was

necessary to appeal was to send in a letter of appeal.

        30.      Mammen submitted a letter of appeal. Her letter stated she met with

Dr. Polukhin for only 15 minutes. She stated she had difficulty understanding the

questions asked by Dr. Polukhin as there was a language barrier. She states that although

palmer-plantar hyperkeratosis is a primary ailment. Dr. Polukhin never asked to see her

feet. She argued that Dr. Ofstedal had been her primary physician since 1998 and that his

opinion should be given weight over Dr. Polukhin who only evaluated her for 15 minutes.

She states that she requires regular assistance for even the most basic tasks, and that it is

not physically possible for herto perform thejobs suggested in the denial letter.

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        31.      Dr. Ofstedal wrote a letter in support describing her medical conditions and

stating in his opinion she should continue on full disability.

        32.      Chiropractor Kyle Hagel also wrote a letter in support, stating that

Mammen has been a patient under his care for chronic neck and back pain. He states she

lives across the street from his office and even that is too far for her to walk some days.

        33.      Hartford did not take action to follow up on Mammen's complaint about

Dr. Polukhin's evaluation, and continued to use her report in the appeal process.

        34.      As part of the appeal review, Mammen's claim was reviewed by

Morohunfolu Akinnusi, M. D. A report was provided by Dr. Akinnusi on June 19, 2015.

Dr. Akinnusi disagreed with Dr. Polukhin and found that restrictions and limitations are

supported, finding the claimant is unable to undertake work which requires standing or

frequent walking, as she is limited by palmer-plantar hyperkeratosis. Based on his

review, he found the following restrictions and limitations supported: standing and

walking no longer than five minutes at a time for a total of 40 minutes per eight-hour day

due to foot discomfort. He did not find other restrictions stating that even though there

were complaints of chronic neck and back pain and fibromyalgia, physical examination

revealed full range of motion and no synovitis.

        35.      A revised Employability Analysis was conducted based on Dr. Akinnusi's

review. However, the Employability Analysis failed to consider Dr. Akinnui's

restrictions and limitations of standing and walking no longer than five minutes at a time

for a total of 40 minutes per eight-hour day. Dr. Polukhin's restrictions and limitations



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continued to be used as the basis for the analysis. The profile for the analysis was not

changed to incorporate the resti-ictions and limitations set forth by Dr. Akinnusi.

          36.       Hartford issued a denial letter dated June 30, 2015, based on the review by

Dr. Akinnusi and the revised Employability Analysis, upholding the termination of

benefits.

                           COUNT I-CLAIM FOR BENEFITS DUE
                            PURSUANT TO 29 U. S. C. 1132 a 1

          37.       Plaintiff restates and realleges the allegations contained in the foregoing

paragraphs.

          38.      Plaintiffhas satisfied the LTD plan definition of disability continuously and

from the date benefits were tenninated through the present date.

          39.      Defendants'     denial    of   LTD      benefits   violates   ERISA.      29

U. S. §1132(a)(l)(B).
          40.      Hartford's decision to terminate Mammon's LTD benefits is in breach of

the LTD plan terms and ERISA.

          41.      By reason of the foregoing. Plaintiff is entitled to judgment against

Defendants for reinstatement m the LTD plan, retroactive and ongoing disability benefits,

interest, and reasonable attorneys' fees and costs.




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                        COUNT II-ATTORNEYS' FEE AND COSTS

         42.       Plaintiff restates and realleges the allegations contained in the foregoing

paragraphs.

         43.      Plaintiff has been forced to bring the instant action as a direct result of

Defendant Hartford's violations.

         44.      As a direct result of Defendant Hartford's acts and failures, Plaintiff has

incurred attorneys' fees and costs. Plaintiff is entitled to recover her attorneys' fees and

costs pursuant to 29 U. S.C. § 1132(g).

                                    PRAYER FOR RELIEF

         WHEREFORE, PlaintiffJocelyn Mammen requests that the Court:

         1.       Adjudicate that Plaintiff meets the definition of disability under the LTD

plan.

         2.       Adjudicate that Plaintiff is awarded retroactive monthly benefits under the

LTD plan, since the date benefits were terminated, plus interest.

         3.        Reinstate Plaintiff into the LTD plan and commence the payment of

monthly benefits going forward from the date ofjudgment according to the terms of the

LTD plan.

         4.        Award Plaintiff the cost, disbursements      and other expenses of this

litigation, and reasonable attorneys' fees pursuant to 29 U. S. C. § 1132(g).




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         5.      Award such additional and further relief as the Court may deem just and

proper

                                          HELLMU                         ,   PLLC


Dated    : /KaA4vyr. 2018                 By:
                                                  Denise Yegge T taryn        79127)
                                                  8050 West 78th treet
                                                  Edina, Minnesota 55439
                                                  Phone:(952)941-4005
                                                  Fax: (952) 941-2337

                                                  ATTORNEY FOR PLAINTIFF
                                                  JOCELYNMAMMEN




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